Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 1 of 17 PageID# 90



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Newport News Division

JAMES T. PARKER, II and
DEBRA L. PARKER,

       Plaintiffs,

v.                                                    Civil Action No. 4:18cv00140-HCM-DEM

FREEDOM MORTGAGE
CORPORATION, et al.,

       Defendants.

          DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
      ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’ COMPLAINT

       NOW COMES Defendant Experian Information Solutions, Inc. (“Experian”), by its

undersigned counsel, and in answer to the Complaint, states as follows:

       Experian denies, generally and specifically, any and all allegations in the Complaint not

specifically admitted in the paragraphs below. Experian further states that it lacks knowledge or

information sufficient to form a belief about the truth or falsity of any and all allegations as they

relate to the actions of third parties and therefore denies the same. Experian further states that its

investigation of the present matter is ongoing. Accordingly, Experian reserves the right to

amend this answer. In response to the numbered paragraphs in the Complaint, Experian states as

follows:

                                PRELIMINARY STATEMENT

       1.      In response to paragraph 1 of the Complaint, Experian admits that Plaintiffs have

asserted claims seeking actual, statutory and punitive damages, costs and attorney’s fees,

pursuant to the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681 et seq. and the Real

Estate and Settlement Procedures Act (“RESPA”), 12 U.S.C. §§ 2601 et seq. Experian denies
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 2 of 17 PageID# 91



that it violated any of the laws relied on by Plaintiffs and denies that Plaintiffs are entitled to any

relief whatsoever against Experian. Except as specifically admitted, Experian denies, generally

and specifically, each and every remaining allegation of paragraph 1 of the Complaint.

                                         JURISDICTION

       2.      In response to paragraph 2 of the Complaint, Experian admits that Plaintiffs have

alleged jurisdiction pursuant to the FCRA, 15 U.S.C. § 1681p, the RESPA, 12 U.S.C. § 2605(f),

and 28 U.S.C. § 1331. Experian states that this is a legal conclusion, which is not subject to

denial or admission.

       3.      In response to paragraph 3 of the Complaint, Experian admits that Plaintiffs have

alleged that personal jurisdiction and venue are proper pursuant to 28 U.S.C. § 1391(b).

Experian states that this is a legal conclusion, which is not subject to denial or admission.

Experian further admits that Experian is qualified to do business and conducts business in the

Commonwealth of Virginia and that it has a registered agent in the Commonwealth of Virginia.

Except as specifically admitted, Experian lacks knowledge or information sufficient to form a

belief about the truth or falsity of the allegations in paragraph 3 of the Complaint and therefore

denies the same.

                                             PARTIES

       4.      In response to paragraph 4 of the Complaint, Experian admits that, upon

information and belief, James T. Parker, II is a natural person and “consumer” as defined by 15

U.S.C. § 1681a(c).

       5.      In response to paragraph 5 of the Complaint, Experian admits that, upon

information and belief, Debra L. Parker is a natural person and “consumer” as defined by 15

U.S.C. § 1681a(c).




                                                 -2-
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 3 of 17 PageID# 92



       6.      Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 6 of the Complaint and therefore denies the same.

       7.      In response to paragraph 7 of the Complaint, Experian admits that it is an Ohio

corporation with its principal place of business in Costa Mesa, California, and that it is qualified

to do business and conducts business in the Commonwealth of Virginia. Experian further admits

that it has a registered agent in the Commonwealth of Virginia. Except as specifically admitted,

Experian denies, generally and specifically, each and every remaining allegation in paragraph 7

of the Complaint.

       8.      In response to paragraph 8 of the Complaint, Experian admits that it is a

“consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) of the FCRA and, as such,

issues consumer reports as defined by 15 U.S.C. § 1681a(d). Except as specifically admitted,

Experian denies, generally and specifically, each and every remaining allegation of paragraph 8

of the Complaint.

       9.      In response to paragraph 9 of the Complaint, Experian admits that it furnishes

consumer reports to third parties for monetary fees. Except as specifically admitted, Experian

denies, generally and specifically, each and every remaining allegation of paragraph 9 of the

Complaint.

       10.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 10 of the Complaint and therefore denies the same.

       11.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 11 of the Complaint and therefore denies the same.

       12.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 12 of the Complaint and therefore denies the same.




                                               -3-
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 4 of 17 PageID# 93



                                             FACTS

       13.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 13 of the Complaint and therefore denies the same.

       14.     In response to paragraph 14 of the Complaint, Experian admits that Plaintiffs

previously filed a lawsuit in this Court regarding their account with Freedom Mortgage

Corporation (“Freedom Mortgage”). Except as specifically admitted, Experian denies, generally

and specifically, each and every remaining allegation of paragraph 14 of the Complaint as they

relate to Experian. As to the allegations in paragraph 14 that relate to other defendants, Experian

lacks knowledge or information sufficient to form a belief about the truth or falsity of such

allegations and therefore denies the same.

       15.     In response to paragraph 15 of the Complaint, Experian admits that a Notice of

Settlement as to Freedom Mortgage was filed in the previous lawsuit on May 15, 2017. Except

as specifically admitted, Experian lacks knowledge or information sufficient to form a belief

about the truth or falsity of the allegations in paragraph 15 of the Complaint and therefore denies

the same.

       16.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 16 of the Complaint and therefore denies the same.

       17.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 17 of the Complaint and therefore denies the same.

       18.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 18 of the Complaint and therefore denies the same.

       19.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 19 of the Complaint and therefore denies the same.




                                               -4-
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 5 of 17 PageID# 94



        20.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 20 of the Complaint and therefore denies the same.

        21.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 21 of the Complaint and therefore denies the same.

        22.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 22 of the Complaint and therefore denies the same.

        23.     In response to paragraph 23 of the Complaint, Experian admits that it received

dispute correspondence from Plaintiffs on or about May 4, 2018, and that it sent Plaintiffs

dispute results on or about May 23, 2018, which documents speak for themselves. As to the

allegations in paragraph 23 that relate to another defendant, Experian lacks knowledge or

information sufficient to form a belief about the truth or falsity of such allegations and therefore

denies the same.

        24.     In response to paragraph 24 of the Complaint, Experian admits that it received

dispute correspondence from Plaintiffs on or about May 4, 2018, and that it sent Plaintiffs

dispute results on or about May 23, 2018, which documents speak for themselves. As to the

allegations in paragraph 24 that relate to another defendant, Experian lacks knowledge or

information sufficient to form a belief about the truth or falsity of such allegations and therefore

denies the same.

        25.     In response to paragraph 25 of the Complaint, Experian admits that it received

dispute correspondence from Plaintiffs on or about May 4, 2018, which correspondence speaks

for itself.   As to the remaining allegations in paragraph 25, Experian lacks knowledge or

information sufficient to form a belief about the truth or falsity of such allegations and therefore

denies the same.




                                               -5-
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 6 of 17 PageID# 95



       26.     In response to paragraph 26 of the Complaint, Experian admits that it received

dispute correspondence from Plaintiffs on or about May 4, 2018, which correspondence speaks

for itself. As to the allegations in paragraph 26 that relate to another defendant, Experian lacks

knowledge or information sufficient to form a belief about the truth or falsity of such allegations

and therefore denies the same.

       27.     Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of the allegations in paragraph 27 of the Complaint and therefore denies the same.

       28.     Experian denies the allegations contained in paragraph 28 of the Complaint as

they relate to Experian. As to the allegations in paragraph 28 that relate to other defendants,

Experian lacks knowledge or information sufficient to form a belief about the truth or falsity of

such allegations and therefore denies the same.

       29.     In response to paragraph 29 of the Complaint, Experian admits that it forwarded

Plaintiffs’ disputes to Freedom Mortgage through the e-Oscar system on or about May 11, 2018,

which sent an ACDV to the data furnisher. As to the allegations in paragraph 29 that relate to

other defendants, Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of such allegations and therefore denies the same.

       30.     In response to paragraph 30 of the Complaint, Experian admits that it received

correspondence from Plaintiffs on or about May 4, 2018. Except as specifically admitted,

Experian denies, generally and specifically, each and every remaining allegation of paragraph 30

of the Complaint that relates to Experian. As to the allegations in paragraph 30 that relate to

another defendant, Experian lacks knowledge or information sufficient to form a belief about the

truth or falsity of such allegations and therefore denies the same.




                                                -6-
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 7 of 17 PageID# 96



       31.     In response to paragraph 31 of the Complaint, Experian admits that it furnishes

consumer reports to third parties. Except as specifically admitted, Experian denies, generally

and specifically, each and every remaining allegation of paragraph 31 of the Complaint.

             COUNT ONE: VIOLATION OF FAIR CREDIT REPORTING ACT
                              15 U.S.C. § 1681e(b)
                           EXPERIAN and EQUIFAX

       32.     Experian incorporates its responses to the allegations set forth in the preceding

paragraphs as if fully set forth herein.

       33.     Experian denies the allegations contained in paragraph 33 of the Complaint as

they relate to Experian. As to the allegations in paragraph 33 that relate to another defendant,

Experian lacks knowledge or information sufficient to form a belief about the truth or falsity of

such allegations and therefore denies the same.

       34.     Experian denies that Plaintiffs suffered any damages as alleged in paragraph 34 of

the Complaint as a result of Experian. Experian further denies, generally and specifically, each

and every remaining allegation of paragraph 34 of the Complaint that relates to Experian. As to

the allegations in paragraph 34 that relate to another defendant, Experian lacks knowledge or

information sufficient to form a belief about the truth or falsity of such allegations and therefore

denies the same.

       35.     Experian denies that its conduct, action, or inaction was willful or negligent as

alleged in paragraph 35 of the Complaint. Experian further denies that Plaintiffs are entitled to

any damages whatsoever pursuant to 15 U.S.C. §§ 1681n and 1681o from Experian. Experian

denies, generally and specifically, each and every remaining allegation of paragraph 35 of the

Complaint that relates to Experian. As to the allegations in paragraph 35 that relate to another




                                               -7-
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 8 of 17 PageID# 97



defendant, Experian lacks knowledge or information sufficient to form a belief about the truth or

falsity of such allegations and therefore denies the same.

       36.     Experian denies that Plaintiffs are entitled to any damages whatsoever pursuant to

15 U.S.C. §§ 1681n and 1681o from Experian. Experian denies, generally and specifically, each

and every remaining allegation of paragraph 36 of the Complaint that relates to Experian. As to

the allegations in paragraph 36 that relate to another defendant, Experian lacks knowledge or

information sufficient to form a belief about the truth or falsity of such allegations and therefore

denies the same.

             COUNT TWO: VIOLATION OF FAIR CREDIT REPORTING ACT
                              15 U.S.C. § 1681i(a)
                           EXPERIAN and EQUIFAX

       37.     Experian incorporates its responses to the allegations set forth in the preceding

paragraphs as if fully set forth herein.

       38.     Experian denies the allegations contained in paragraph 38 of the Complaint as

they relate to Experian. As to the allegations in paragraph 38 that relate to another defendant,

Experian lacks knowledge or information sufficient to form a belief about the truth or falsity of

such allegations and therefore denies the same.

       39.     Experian denies the allegations contained in paragraph 39 of the Complaint as

they relate to Experian. As to the allegations in paragraph 39 that relate to another defendant,

Experian lacks knowledge or information sufficient to form a belief about the truth or falsity of

such allegations and therefore denies the same.

       40.     Experian denies the allegations contained in paragraph 40 of the Complaint as

they relate to Experian. As to the allegations in paragraph 40 that relate to another defendant,




                                               -8-
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 9 of 17 PageID# 98



Experian lacks knowledge or information sufficient to form a belief about the truth or falsity of

such allegations and therefore denies the same.

       41.     Experian denies that Plaintiffs suffered any damages as alleged in paragraph 41 of

the Complaint as a result of Experian. Experian further denies, generally and specifically, each

and every remaining allegation of paragraph 41 of the Complaint that relates to Experian. As to

the allegations in paragraph 41 that relate to another defendant, Experian lacks knowledge or

information sufficient to form a belief about the truth or falsity of such allegations and therefore

denies the same.

       42.     Experian denies that its conduct, action, or inaction was willful or negligent as

alleged in paragraph 42 of the Complaint. Experian further denies that Plaintiffs are entitled to

any damages whatsoever pursuant to 15 U.S.C. §§ 1681n and 1681o from Experian. Experian

denies, generally and specifically, each and every remaining allegation of paragraph 42 of the

Complaint that relates to Experian. As to the allegations in paragraph 42 that relate to another

defendant, Experian lacks knowledge or information sufficient to form a belief about the truth or

falsity of such allegations and therefore denies the same.

       43.     Experian denies that Plaintiffs are entitled to any damages whatsoever pursuant to

15 U.S.C. §§ 1681n and 1681o from Experian. Experian denies, generally and specifically, each

and every remaining allegation of paragraph 43 of the Complaint that relates to Experian. As to

the allegations in paragraph 43 that relate to another defendant, Experian lacks knowledge or

information sufficient to form a belief about the truth or falsity of such allegations and therefore

denies the same.

       44.     Experian denies that Plaintiffs are entitled to any damages whatsoever pursuant to

15 U.S.C. §§ 1681n and 1681o from Experian. Experian denies, generally and specifically, each




                                               -9-
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 10 of 17 PageID# 99



 and every remaining allegation of paragraph 44 of the Complaint that relates to Experian. As to

 the allegations in paragraph 44 that relate to another defendant, Experian lacks knowledge or

 information sufficient to form a belief about the truth or falsity of such allegations and therefore

 denies the same.

           COUNT THREE: VIOLATION OF FAIR CREDIT REPORTING ACT
                      15 U.S.C. § 1681s-2(b)(1)(A) AND (B)
                           FREEDOM MORTGAGE

        45.     Experian incorporates its responses to the allegations set forth in the preceding

 paragraphs as if fully set forth herein.

        46.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 46 of the Complaint and therefore denies the same.

        47.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 47 of the Complaint and therefore denies the same.

        48.     In response to paragraph 48 of the Complaint, Experian admits that it uses a

 dispute processing system called “e-Oscar.” Except as specifically admitted, Experian denies,

 generally and specifically, each and every remaining allegation of paragraph 48 of the Complaint

 that relates to Experian. As to the allegations in paragraph 48 that relate to other defendants,

 Experian lacks knowledge or information sufficient to form a belief about the truth or falsity of

 such allegations and therefore denies the same.

        49.     In response to paragraph 49 of the Complaint, Experian admits that it

 communicates disputes of information to data furnishers through the e-Oscar system, which

 sends an ACDV form to the data furnisher. Except as specifically admitted, Experian denies,

 generally and specifically, each and every remaining allegation of paragraph 49 of the Complaint

 that relates to Experian. As to the allegations in paragraph 49 that relate to other defendants,




                                                - 10 -
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 11 of 17 PageID# 100



 Experian lacks knowledge or information sufficient to form a belief about the truth or falsity of

 such allegations and therefore denies the same.

        50.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 50 of the Complaint and therefore denies the same.

        51.     In response to paragraph 51 of the Complaint, Experian admits that it forwarded

 Plaintiffs’ disputes to Freedom Mortgage through the e-Oscar system on or about May 11, 2018,

 which sent ACDV forms to the data furnisher. Except as specifically admitted, Experian denies,

 generally and specifically, each and every remaining allegation of paragraph 51 of the Complaint

 that relates to Experian. As to the allegations in paragraph 51 that relate to other defendants,

 Experian lacks knowledge or information sufficient to form a belief about the truth or falsity of

 such allegations and therefore denies the same.

        52.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 52 of the Complaint and therefore denies the same.

        53.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 53 of the Complaint and therefore denies the same.

        54.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 54 of the Complaint and therefore denies the same.

        55.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 55 of the Complaint and therefore denies the same.

        56.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 56 of the Complaint and therefore denies the same.

        57.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 57 of the Complaint and therefore denies the same.




                                                - 11 -
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 12 of 17 PageID# 101



        58.     In response to paragraph 58 of the Complaint, Experian states that this is a legal

 conclusion, which is not subject to denial or admission.

        59.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 59 of the Complaint and therefore denies the same.

        60.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 60 of the Complaint and therefore denies the same.

        61.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 61 of the Complaint and therefore denies the same.

              COUNT FOUR: VIOLATION OF FAIR CREDIT REPORTING ACT
                         15 U.S.C. § 1681s-2(b)(1)(C) AND (D)
                              FREEDOM MORTGAGE

        62.     Experian incorporates its responses to the allegations set forth in the preceding

 paragraphs as if fully set forth herein.

        63.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 63 of the Complaint and therefore denies the same.

        64.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 64 of the Complaint and therefore denies the same.

        65.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 65 of the Complaint and therefore denies the same.

        66.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 66 of the Complaint and therefore denies the same.

        67.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 67 of the Complaint and therefore denies the same.




                                                - 12 -
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 13 of 17 PageID# 102



        68.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 68 of the Complaint and therefore denies the same.

        69.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 69 of the Complaint and therefore denies the same.

        70.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 70 of the Complaint and therefore denies the same.

        71.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 71 of the Complaint and therefore denies the same.

        72.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 72 of the Complaint and therefore denies the same.

        73.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 73 of the Complaint and therefore denies the same.

        74.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 74 of the Complaint and therefore denies the same.

        75.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 75 of the Complaint and therefore denies the same.

                              COUNT FIVE:
       VIOLATION OF REAL ESTATE AND SETTLEMENT PROCEDURES ACT
                            12 U.S.C. § 2605(e)
                          FREEDOM MORTGAGE

        76.     Experian incorporates its responses to the allegations set forth in the preceding

 paragraphs as if fully set forth herein.

        77.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 77 of the Complaint and therefore denies the same.




                                                - 13 -
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 14 of 17 PageID# 103



        78.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 78 of the Complaint and therefore denies the same.

        79.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 79 of the Complaint and therefore denies the same.

        80.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 80 of the Complaint and therefore denies the same.

        81.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 81 of the Complaint and therefore denies the same.

        82.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 82 of the Complaint and therefore denies the same.

        83.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 83 of the Complaint and therefore denies the same.

        84.     Experian lacks knowledge or information sufficient to form a belief about the

 truth or falsity of the allegations in paragraph 84 of the Complaint and therefore denies the same.

        In response to the unnumbered paragraph in the Complaint beginning “WHEREFORE,”

 Experian denies, generally and specifically, that Plaintiffs are entitled to judgment against or any

 relief whatsoever from Experian.

                                  AFFIRMATIVE DEFENSES

        Experian hereby sets forth the following affirmative defenses to the Complaint.

                               FIRST AFFIRMATIVE DEFENSE
                                  (Failure To State A Claim)

        Plaintiffs’ claims fail to the extent that the Complaint, and each cause of action thereof,

 fails to set forth facts sufficient to state a claim upon which relief may be granted against




                                                - 14 -
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 15 of 17 PageID# 104



 Experian and fails to state facts sufficient to entitle Plaintiffs to the relief sought, or to any other

 relief whatsoever from Experian.

                               SECOND AFFIRMATIVE DEFENSE
                                 (Truth/Accuracy Of Information)

         Plaintiffs’ claims fail to the extent that they are barred because all information Experian

 communicated to any third person regarding Plaintiffs was true.

                                THIRD AFFIRMATIVE DEFENSE
                                    (Compliance/Good Faith)

         Plaintiffs’ claims fail to the extent that, at all relevant times with respect to Plaintiffs,

 Experian acted in good faith and complied fully with the FCRA and relevant state laws.

                              FOURTH AFFIRMATIVE DEFENSE
                                (Intervening Superseding Cause)

         Plaintiffs’ claims fail to the extent that Plaintiffs’ purported damages, which Experian

 continues to deny, were the result of acts or omissions of third persons over whom Experian had

 neither control nor responsibility.

                                FIFTH AFFIRMATIVE DEFENSE
                                       (Proximate Cause)

         Plaintiffs’ claims fail to the extent that Plaintiffs’ purported damages were the direct and

 proximate result of the conduct of Plaintiffs or others.

                                SIXTH AFFIRMATIVE DEFENSE
                                      (Punitive Damages)

         Plaintiffs cannot recover against Experian to the extent that their Complaint fails to state

 a claim for relief for punitive damages. Additionally, Plaintiffs cannot recover punitive damages

 against Experian to the extent that such an award would violate Experian’s constitutional rights

 under the Constitution of the United States of America and the Constitution of Virginia.




                                                  - 15 -
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 16 of 17 PageID# 105



                             SEVENTH AFFIRMATIVE DEFENSE
                                   (Failure to Mitigate)

        Plaintiff’s claims fail to the extent that they are barred, in whole or in part, because

 Plaintiff has failed to mitigate his damages.

                              EIGHTH AFFIRMATIVE DEFENSE
                              (Right To Assert Additional Defenses)

        Experian reserves the right to assert additional affirmative defenses at such time and to

 such extent as warranted by discovery and the factual developments in this case.


        WHEREFORE, Defendant Experian Information Solutions, Inc. prays as follows:

        (1)     That Plaintiffs take nothing by virtue of the Complaint herein and that this

                action be dismissed in its entirety;

        (2)     That Experian be dismissed as a party to this action;

        (3)     For costs of suit and attorneys’ fees herein incurred; and

        (4)     For such other and further relief as the Court may deem just and proper.


                                           EXPERIAN INFORMATION SOLUTIONS, INC.


                                           By:/s/David N. Anthony
                                              David N. Anthony
                                              Virginia State Bar No. 31696
                                              Counsel for Experian Information Solutions, Inc.
                                              TROUTMAN SANDERS LLP
                                              1001 Haxall Point
                                              Richmond, VA 23219
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                                              Facsimile: (804) 698-5118
                                              Email: david.anthony@troutman.com




                                                 - 16 -
Case 4:18-cv-00140-HCM-LRL Document 15 Filed 01/11/19 Page 17 of 17 PageID# 106



                                    CERTIFICATE OF SERVICE

            I hereby certify that on the 11th day of January 2019, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF System which will then send a notification of

 such filing (NEF) to the following:

 Leonard A. Bennett                                        Walter John Buzzetta
 Craig C. Marchiando                                       STRADLEY RONON STEVENS & YOUNG, LLP
 CONSUMER LITIGATION ASSOCIATES                            1250 Connecticut Ave., NW, Suite 500
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 Facsimile: (757) 930-3662                                 Email: wbuzzetta@stradley.com
 Email: lenbennett@clalegal.com                            Counsel for Freedom Mortgage Corporation
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 Counsel for Plaintiff

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                                                 /s/ David N. Anthony
                                                 David N. Anthony
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 37591645                                         - 17 -
